Case 6:15-cr-02037-CJW-MAR   Document 183   Filed 02/01/16   Page 1 of 6
Case 6:15-cr-02037-CJW-MAR   Document 183   Filed 02/01/16   Page 2 of 6
Case 6:15-cr-02037-CJW-MAR   Document 183   Filed 02/01/16   Page 3 of 6
Case 6:15-cr-02037-CJW-MAR   Document 183   Filed 02/01/16   Page 4 of 6
Case 6:15-cr-02037-CJW-MAR   Document 183   Filed 02/01/16   Page 5 of 6
Case 6:15-cr-02037-CJW-MAR   Document 183   Filed 02/01/16   Page 6 of 6
